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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


IN RE: GENIE INVESTMENTS NV, INC.
            Debtor.                                          Case No.: 3:24-bk-00496-BAJ
                                                             Chapter 11
_________________________________/

                        APPLICATION TO EMPLOY ATTORNEY




                        NOTICE OF OPPORTUNITY TO
                     OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of Court
at Clerk of the Court at 300 N. Hogan St., Ste. 3-150, Jacksonville, FL 32202 within 21 days
from the date of the attached proof of service, plus an additional three days if this paper was
served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a
hearing date or the Court will consider the response and grant or deny the relief requested in this
paper without a hearing. If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, and the Court may grant or
deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If
the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
modified, or eliminated if you do not timely file and serve a response.
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TO: The Honorable JASON A. BURGESS, United States Bankruptcy Judge

       Upon this Application, the above captioned Debtor respectfully represents:

       1. On February 21, 2024, the applicant filed a petition for reorganization under Chapter 11

of the Bankruptcy Code.

       2. Applicant wishes to employ Bryan K. Mickler as an attorney duly qualified to practice

in this Court.

       3. Applicant has selected this attorney for the reason that he has had experience in matters

of this character, and applicant believes him to be well-qualified to represent it in this proceeding.

       4. The professional services which this attorney is to render include general representation

of the applicant in this proceeding and the performance of all legal services for the applicant which

may be necessary herein.

       5. Applicant wishes to employ this attorney because of the extensive legal services which

applicants anticipate will be required.

       6. To the best of the applicant’s knowledge, this attorney has no interest adverse to the

applicant or the estate in any of the matters upon which the attorney is to be engaged and the

employment of Bryan K. Mickler would be in the best interest of this estate.
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       WHEREFORE, applicant prays that it be authorized to employ Bryan K. Mickler as the

attorney for the debtor in this case and that said attorney be awarded compensation as is fit and

proper upon further application to this Court from the property of this estate and as a part of any

plan eventually to be submitted for confirmation.



_________________________________
DAVID HUGHES, DIRECTOR


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was furnished to Office of the United
States Trustee, 400 W. Washington Street, Suite 1100, Orlando, FL 32801 and to all interested
parties as listed on the court’s matrix, by CM/ECF filing this ___________
                                                                  28       day of February, 2024.

                                                     Law Offices of Mickler & Mickler, LLP

                                                     By: /s/ Bryan K. Mickler
                                                        Bryan K. Mickler
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